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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA          )
                                  )
    v.                            )    CRIMINAL ACTION NO.
                                  )      2:13cr133-MHT
TRAVIS ANDRE MOSS and             )          (WO)
TERRANCE MAURICE THOMAS           )

                        OPINION AND ORDER

    This cause is before the court on defendant Terrance

Maurice Thomas’s motions to continue.            The government and

co-defendant Travis Andre Moss do not oppose the motions,

including no opposition to a continuance for both Thomas

and Moss.      For the reasons set forth below after a

hearing on October 15, 2013, the court finds that jury

selection and trial, now set for November 18, 2013,

should be continued pursuant to 18 U.S.C. § 3161(h)(6)

and (h)(7).

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court
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is limited by the requirements of the Speedy Trial Act,

18 U.S.C. § 3161.        The Act provides in part:

           "In any case in which a plea of not
           guilty is entered, the trial of a
           defendant charged in an information or
           indictment with the commission of an
           offense shall commence within seventy
           days from the filing date (and making
           public)    of   the    information    or
           indictment, or from the date the
           defendant has appeared before a judicial
           officer of the court in which such
           charge is pending, whichever date last
           occurs."

18 U.S.C. § 3161(c)(1).           The Act excludes from the 70-day

period any continuance based on “findings that the ends

of justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial.”    § 3161(h)(7)(A).        In granting a continuance, the

court may consider, among other factors, whether the

failure to grant the continuance would “result in a

miscarriage       of    justice,"        §   3161(h)(7)(B)(i),           or

“[w]hether the case is so unusual or so complex ... that

it   is   unreasonable       to    expect    adequate     preparation”

without granting a continuance.              § 3161(h)(7)(B)(ii).

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      The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest of the public and defendants Thomas and Moss in

a speedy trial. Thomas’s retained counsel, Bruce Maddox,

will undergo surgery on October 28, 2013. The surgery and

recovery     will    interfere      with    his    ability      to   prepare

Thomas’s case for several weeks, and he would be unable

to try the case as originally scheduled. Given these

circumstances,         a    continuance       in     this       matter    is

appropriate.

      With regard to co-defendant Moss, the Speedy Trial

Act    excludes     from   the     70-day   period       “[a]   reasonable

period of delay when the defendant is joined for trial

with a codefendant as to whom the time for trial has not

run    and   no   motion     for   severance       has   been    granted.”

§ 3161(h)(6). No severance has been granted in this case.

                                    ***

      Accordingly, it is ORDERED as follows:




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(1) The     motions     to    continue     filed    by     defendant

      Terrance Maurice Thomas (doc. no. 28 and 29) are

      granted.

(2) The     jury    selection     and    trial     for    defendants

      Travis Andre Moss and Terrance Maurice Thomas,

      now set for November 18, 2013, are reset for

      January 27, 2014, at 10:00 a.m., in Courtroom

      2FMJ of the Frank M. Johnson Jr. United States

      Courthouse        Complex,        One      Church      Street,

      Montgomery, Alabama.

DONE, this the 15th day of October, 2013.

                                /s/ Myron H. Thompson
                             UNITED STATES DISTRICT JUDGE
